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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA
                                                        DECISION AND ORDER
            v.
                                                               14-CR-134A
DAMARIO JAMES,

                                Defendant.


I. INTRODUCTION
      Pending before the Court is a sealed motion (Dkt. No. 322) by defendant

Damario James (“James”) for release on conditions. James has been in

continuous federal custody since July 24, 2014, when agents arrested him on a

pre-indictment complaint (Dkt. No. 1). This is James’s first formal application for

bail; at his detention hearing on August 7, 2014, James waived his right to an

immediate detention hearing with a reservation of rights. (Dkt. No. 68.) The

Court will avoid divulging too many details of a sealed document, but defense

counsel argued in open court that James has provided assistance to the

Government and should receive credit for his efforts through release on

conditions. James has proposed living with his girlfriend and their children under

conditions including home incarceration and co-signing of a bond by his mother

and sister. The Government opposes release. The Government appreciates

James’s assistance but argues that he has accumulated too many felony
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convictions and too many bail or probation violations to be trusted with release

under any combination of conditions.

      The Court held a bail review hearing on December 15, 2015. For the

reasons below, the Court denies James’s motion.

II. BACKGROUND
      This case concerns allegations that James bought and sold cocaine and

cocaine base as a member of the Scheule Boys street gang in the City of Buffalo.

In the indictment (Dkt. No. 53), the Government charged James with conspiring

“to possess with intent to distribute, and to distribute, 5 kilograms or more of a

mixture and substance containing cocaine and 28 grams or more of a mixture

and substance containing cocaine base” (id. at 2) in violation of 21 U.S.C. § 846.

The pre-indictment complaint (Dkt. No. 1) provided more factual information

specific to James. In paragraph four of the complaint, the Government listed

James as one of three defendants subject to a wiretap order. In paragraphs six

through eight, 15, and 18–19, the Government described how informants made

numerous controlled purchases of cocaine from James totaling over 300 grams;

how James and others used several locations for drug operations; and how

James was associated with violent acts such as shootings to defend the gang’s

operations. In paragraphs 11 and 12, the Government explained how James

used techniques intended to thwart surveillance and how James had no

significant legitimate income yet lived above his means through illegal proceeds.
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In paragraphs 30–33, the Government provided further details of drug

transactions directly involving James.

      James came into this case with a significant criminal history. Dating back

to May 2000, when he was age 17, James has several convictions for violations

such as disorderly conduct, infractions relating to aggravated unlicensed

operation of motor vehicles, and misdemeanors including driving while

intoxicated. James also has several felony convictions. In 2000, James pled

guilty to attempted burglary associated with a deadly weapon, a class D felony.

In 2003, James was sentenced on a federal felony conviction for possession with

intent to distribute cocaine base. In 2005, James pled guilty to attempted

criminal possession of a loaded firearm in the third degree, a class E felony. In

2013, James pled guilty to aggravated unlicensed operation of a motor vehicle in

the first degree, a class E felony. Across all of his cases, James accumulated

seven bench warrants for non-appearance and at least three violations of bail,

probation, or supervised release.

      Despite his extensive criminal history, James filed the pending motion in

the hope of obtaining release. The heart of James’s argument is the assistance

that he has provided to the Government, though he also argues that he did not

realize until recently that he would avoid career offender status. James contends

that the elimination of possible career offender status represents a change of

circumstances. James again is willing to live with his girlfriend and their children
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under home incarceration and would help with child care if allowed to do so. At

the bail review hearing, the Court spoke with James’s mother and sister, who are

willing to co-sign a bond and to post property to secure his release. The

Government again opposes James’s motion in all respects. The Government

was willing to argue the motion without filing response papers and stated at the

bail review hearing that James has generated too much of a criminal history to

offset simply through assistance.

III. DISCUSSION
      “The Eighth Amendment to the Constitution states that ‘[e]xcessive bail

shall not be required.’ U.S. Const. amend. VIII. Consistent with this prohibition,

18 U.S.C. § 3142(b) requires a court to order the pre-trial release of a defendant

on a personal recognizance bond ‘unless the [court] determines that such

release will not reasonably assure the appearance of the person as required or

will endanger the safety of any other person or the community.’” U.S. v.

Sabhnani, 493 F.3d 63, 75 (2d Cir. 2007). Statutory factors to be considered

when assessing non-appearance or danger include the nature and

circumstances of the offense charged, the weight of the evidence against the

person, the history and characteristics of the person, and the nature and

seriousness of the danger to any person or the community that would be posed

by the person’s release. See 18 U.S.C. § 3142(g).



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      With respect to non-appearance, “the government carries a dual burden in

seeking pre-trial detention. First, it must establish by a preponderance of the

evidence that the defendant, if released, presents an actual risk of flight.

Assuming it satisfies this burden, the government must then demonstrate by a

preponderance of the evidence that no condition or combination of conditions

could be imposed on the defendant that would reasonably assure his presence in

court.” Sabhnani, 493 F.3d at 75 (citations omitted). “To order detention [based

on danger], the district court must find, after a hearing, that the government has

established the defendant’s dangerousness by clear and convincing evidence.

The rules of evidence do not apply in a detention hearing. Further, the

government may proceed by proffer.” U.S. v. Ferranti, 66 F.3d 540, 542 (2d Cir.

1995) (citations omitted). So long as courts take some measure to assess the

reliability and accuracy of prosecutors’ information, “a detention hearing is not to

serve as a mini-trial . . . or as a discovery tool for the defendant.” U.S. v. Martir,

782 F.2d 1141, 1145 (2d Cir. 1986) (citation omitted); see also U.S. v.

LaFontaine, 210 F.3d 125, 130–31 (2d Cir. 2000) (“It is well established in this

circuit that proffers are permissible both in the bail determination and bail

revocation contexts.”) (citations omitted).

      Here, though defense counsel has done a laudable job casting James’s

criminal history in the best possible light and enlisting family members to help,

the Government has the better view of that history. At this time, James simply
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has generated too many convictions and too many release violations to ignore

just because he has provided assistance. James’s seven prior bench warrants

for non-appearance and several prior violations while on release indicate either

that he cannot follow conditions of release or that he decides for himself whether

and when to comply. Cf. U.S. v. Barnett, No. 5:03-CR-243, 2003 WL 22143710,

at *12 (N.D.N.Y. Sept. 17, 2003) (“Every sentence of probation or parole requires

a defendant to meet judicially imposed conditions, and violations of either are

further evidence of a defendant’s inability to comply with judicial mandates and

supervision. Evidence of new criminal behavior while other charges are pending

inevitably leads to the conclusion that a defendant places his own self-interests

above that of the community. In turn, the community has a right to expect courts

to protect it.”); see also U.S. v. Griffin, No. CR09-3018, 2009 WL 1220262, at *3

(N.D. Iowa May 4, 2009) (“While Defendant has long ties to the northeast Iowa

area, he is currently unemployed. Defendant has an extensive prior criminal

record, both as a juvenile and as an adult. Importantly, Defendant has

consistently shown that he is unable or unwilling to comply with conditions of

release.”); U.S. v. Roman-Monroy, 608 F. Supp. 2d 86, 88 (D.D.C. 2009)

(ordering detention in part because of a bail jumping conviction); accord U.S. v.

Purdue, No. 14-MJ-2066, 2014 WL 3846067, at *3 (W.D.N.Y. Aug. 4, 2014)

(Scott, M.J.). The Government also has proffered information about wiretaps,

controlled purchases, and surveillance indicating that James has played a
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significant role in violent and non-violent operations for the sake of his gang. Cf.

U.S. v. Jackson, 823 F.2d 4, 7 (2d Cir. 1987) (“As to the weight of the evidence,

the government apparently has numerous informants as well as physical

evidence to support its charges. Indeed, [defendant] has made no significant

attack on the government’s proffered evidence.”). James’s history also indicates

regular cocaine and marijuana use prior to his arrest on the pending charges.

      Taking together the factors that the Court assesses under 18 U.S.C.

§ 3142(g), the Court finds both a preponderance of the evidence in favor of a

flight risk and clear and convincing evidence of potential danger to the

community. The Court will let James’s custody status remain unchanged.

IV. CONCLUSION
      For all of the foregoing reasons, the Court denies James’s motion for

release (Dkt. No. 322).

      Defendant will remain committed to the custody of the Attorney General for

confinement in a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal.

      Despite the Court’s order of detention, and pursuant to 18 U.S.C.

§ 3142(i)(3), the Attorney General must afford defendant reasonable opportunity

for private consultation with counsel. See also U.S. v. Rodriguez (“Rodriguez I”),

No. 12-CR-83S, 2014 WL 4094561 (W.D.N.Y. Aug. 18, 2014) (Scott, M.J.).

Additionally, on order of the Court or on request of an attorney for the
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Government, the person in charge of the corrections facility in which defendant is

confined must deliver him to a United States Marshal for the purpose of an

appearance in connection with a court proceeding in this case. See also U.S. v.

Rodriguez (“Rodriguez II”), No. 12-CR-83S, 2015 WL 1120157, at *7 (W.D.N.Y.

Mar. 12, 2015) (Scott, M.J.) (interpreting 18 U.S.C. § 3142(i)(4) to allow

transports to prepare for an oral argument or hearing).

      In accordance with 18 U.S.C. § 3142(j), nothing in this Decision and Order

will be construed as modifying or limiting the presumption of innocence.



      SO ORDERED.
                                       __/s Hugh B. Scott______    __
                                       HONORABLE HUGH B. SCOTT
                                       UNITED STATES MAGISTRATE JUDGE
DATED: December 18, 2015




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